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          IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
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                                              CALIFORNIA
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11                                                    Case Number: 2:17-CR-0041 TLN
     THE UNITED STAES OF AMERICA,
12                                                    STIPULATION AND ORDER
                   Plaintiff,
13                                                       Date: July 13, 2017
     v.                                                  Time: 9:30 am
14                                                       Judge: Hon. Troy L. Nunley
     JOHN SMALLWOOD and
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     JAMES SMALLWOOD,
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                    Defendants.
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                    Plaintiff United States of America, by and through its counsel of record, and the
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     Defendants, by and through each counsel of record, hereby stipulate as follows:
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            1.       Attorneys Hedberg and Beevers need additional time to review discovery and
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     need time to review it with their clients. Attorneys Hedberg and Beevers have recently been
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1    appointed to represent their respective clients in this matter and needs further time to review the

2    discovery and work with them.

3           2.      By this stipulation, the defendant now move to continue the status conference
4    until September 28, 2017 at 9:30 am, and to exclude time between July 13, 2017, and September
5    28, 2017, under Local Code T4. Plaintiff does not oppose this request.
6           3.      The parties agree and stipulate, and request that the Court find the following:
7           a.      The government has provided discovery associated with this case.
8           b.      Counsel for the defendants desire time to consult with their clients, to review the
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     current charges, to conduct investigation and research related to the charges, to review and copy
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     discovery for these matters and to discuss potential resolutions with their clients.
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            Counsel for the defendants believes that failure to grant the above-requested continuance
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     would deny them the reasonable time necessary for effective preparation, taking into account the
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     exercise of due diligence.
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            d.       The government does not object to the continuance.
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            e.      Based on the above-stated findings, the ends of justice served by continuing the
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     case as requested outweigh the interest of the public and the defendant in a trial within the
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     original date prescribed by the Speedy Trial Act.
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            f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
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     et seq., within which trial must commence, the time period of July 13, 2017, to September 28,
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     2017, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code
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     T4] because it results from a continuance granted by the Court at defendant’s request on the basis
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     of the Court's finding that the ends of justice served by taking such action outweigh the best
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     interest of the public and the defendant in a speedy trial.
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1           4. Nothing in this stipulation and order shall preclude a finding that other provisions of

2    the Speedy Trial Act dictate that additional time periods are excludable from the period within

3    which a trial must commence.
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6    IT IS SO STIPULATED
7    Respectfully submitted
8    /s/ Olaf W. Hedberg                                                 /s/ Owen Roth
9    Olaf W. Hedberg                                                       Owen Roth
     Attorney for John Smallwood                                  Assistant United States Attorney
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     /s/ Douglas Beevers
12   Douglas Beevers
     Attorney for James Smallwood
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4                                                 ORDER

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            GOOD CAUSE APPEARING, it is hereby ordered that the July 13, 2017 status
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     conference be continued to September 28, 2017 at 9:30 a.m. I find that the ends of justice
7    warrant an exclusion of time and that the defendants' need for continuity of counsel and
8    reasonable time for effective preparation exceeds the public interest in a trial within 70 days.

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     THEREFORE IT IS FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161
     (h) (7) (B) (ii) and Local Code T4 from the date of this order to September 28, 2017.
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     IT IS SO ORDERED.
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     Dated: July 6, 2017
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                                                          Troy L. Nunley
                                                          United States District Judge
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